           Case 1:19-vv-00205-UNJ Document 28 Filed 05/29/20 Page 1 of 2




    In the United States Court of Federal Claims
                                  OFFICE OF SPECIAL MASTERS
                                          No. 19-0205V
                                         UNPUBLISHED


    NANCI HOHN,                                               Chief Special Master Corcoran

                         Petitioner,                          Filed: April 28, 2020
    v.
                                                              Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                   Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                           Table Injury; Influenza (Flu) Vaccine;
                                                              Shoulder Injury Related to Vaccine
                        Respondent.                           Administration (SIRVA)


Jessica Olins, Maglio Christopher & Toale, PA, Washington, DC, for petitioner.

Traci R. Patton, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT 1

       On February 5, 2019, Nanci Hohn filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleges that the receipt of an influenza (“flu”) vaccine in her
right deltoid on September 28, 2016 caused her to suffer a Shoulder Injury Related to
Vaccine Administration (SIRVA). Petition at 1. The case was assigned to the Special
Processing Unit of the Office of Special Masters.

        On April 24, 2020, Respondent filed his Rule 4(c) report in which he concedes
that Petitioner is entitled to compensation in this case because Petitioner meets the
criteria for a presumed SIRVA, as defined in the Vaccine Injury Table. Respondent’s

1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). This means the ruling will be available to anyone with access to
the internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to
redact medical or other information, the disclosure of which would constitute an unwarranted invasion of
privacy. If, upon review, I agree that the identified material fits within this definition, I will redact such
material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
         Case 1:19-vv-00205-UNJ Document 28 Filed 05/29/20 Page 2 of 2



Rule 4(c) Report at 1. Specifically, Respondent states that Petitioner “had no history of
pain, inflammation or dysfunction in her right shoulder; her pain occurred within 48
hours of receipt of an intramuscular vaccination; her pain and reduced range of motion
were limited to the shoulder in which the vaccine was administered; and no other
condition or abnormality was identified to explain her symptoms.” Id. at 9.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

IT IS SO ORDERED.

                                  s/Brian H. Corcoran
                                  Brian H. Corcoran
                                  Chief Special Master




                                            2
